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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


LEANDRA ENGLISH,
              Plaintiff,

              v.

DONALD J. TRUMP and                                        Case No. 1:17-cv-02534
JOHN M. MULVANEY,
               Defendants.



                   MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR
                          A TEMPORARY RESTRAINING ORDER

              Effective at midnight on November 24, 2017, Richard Cordray resigned as the Director

of the Consumer Financial Protection Bureau. Upon his absence, plaintiff Leandra English, the

Deputy Director, became Acting Director. Congress’s succession plan for the agency mandates

that, until the Senate confirms a permanent replacement, the Deputy Director “shall . . . serve as

the Acting Director in the absence or unavailability of the Director.” 12 U.S.C. § 5491(b)(5)(B).

Despite this statutory mandate, President Trump announced on the evening of the 24th that he

was designating defendant Mulvaney, a White House official, as interim head of the CFPB.

              Acting Director English seeks a temporary restraining order (1) prohibiting the President

from appointing or recognizing a new Acting Director of the Bureau and (2) prohibiting Mr.

Mulvaney from holding that position or exercising the Bureau’s authority until this Court has

had time to hear from both sides and consider the merits.

              A temporary restraining order is appropriate here for four reasons. First, as dictated by

statute, Ms. English currently holds the position of Acting Director. Second, the President does

not have the authority he claims under the Federal Vacancies Reform Act to replace her. Third,

the President’s appointment of a still-serving White House official would violate the legal
       	  
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requirement that the CFPB be an independent agency. Lastly, the equities strongly counsel

maintaining the status quo and avoiding the confusion and irreparable harm that would follow

from allowing the parties’ conflicting claims to go unsettled.

                                       LEGAL STANDARD

       The standard for obtaining a temporary restraining order is well established. Courts

evaluate a request for preliminary relief, via TRO or preliminary injunction, under a four-factor

test. See Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006); Council on

Am.-Islamic Relations v. Gaubatz, 667 F. Supp. 2d 67, 74 (D.D.C. 2009). The party seeking the

injunction must show “(1) a substantial likelihood of success on the merits, (2) that it would suffer

irreparable injury if the injunction were not granted, (3) that an injunction would not

substantially injure other interested parties, and (4) that the public interest would be furthered by

the injunction.” Chaplaincy, 454 F.3d at 297. If a showing in any one of these areas is particularly

strong, “an injunction may issue even if the showings in other areas are rather weak.” Id.

                                           ARGUMENT

I.     Ms. English has a substantial likelihood of success on the merits.

       A.    Ms. English is the Acting Director of the Bureau.

       Ms. English has a clear legal entitlement to the position of Acting Director of the CFPB.

At the moment that Director Cordray’s resignation became effective, she was the agency’s

Deputy Director, a position created by Congress through the Dodd-Frank Act. See 12 U.S.C.

§ 5491(b). The statutory provision creating the position states, in mandatory language, that the

Deputy Director “shall . . . serve as Acting Director in the absence or unavailability of the

Director.” Id. § 5491(b)(5)(B). Under a plain reading of this language, the Deputy Director

automatically becomes the Acting Director when the Director leaves office: a Director who is no

longer serving in office is “absent” as well as “unavailable.” See, e.g., Absent, Merriam Webster
     	  
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Online Dictionary, https://www.merriam-webster.com/dictionary/absent (defining “absent” as

“not        existing:   lacking”);   Unavailable,   Merriam       Webster       Online     Dictionary,

https://goo.gl/MwSrpD (defining “unavailable” as “not available: such as . . . unable or

unwilling to do something”); see generally Asgrow Seed Co. v. Winterboer, 513 U.S. 179, 187 (1995)

(“When terms used in a statute are undefined, we give them their ordinary meaning.”).

        Thus, when a Director resigns, the Deputy Director serves as Acting Director. 12 U.S.C.

§ 5491(b)(5)(B). This legal arrangement was triggered by the resignation of Director Cordray on

November 24. See C. Ryan Barber, Read: Consumer Bureau Director Richard Cordray’s Resignation Letter,

National Law Journal (Nov. 24, 2017), https://goo.gl/B9nU79. But, in contravention of this

clear statutory directive, the President announced that he was appointing Mr. Mulvaney, the

Director of the White House Office of Management and Budget, to be the Acting Director of the

CFPB.

        The President’s purported appointment of Mr. Mulvaney is unlawful. To justify the

President’s actions, the government issued a memorandum from the Department of Justice’s

Office of Legal Counsel regarding the attempted appointment. See Memorandum Re: Designating an

Acting Director of the Bureau of Consumer Financial Protection, Office of Legal Counsel (Nov. 25, 2017),

https://goo.gl/psvaEY (“OLC Memo”). This memo asserts that the President has the authority

to appoint Mr. Mulvaney under the Federal Vacancies Reform Act, or FVRA, 5 U.S.C. §§

3345–3349d. Id. at 1. That is incorrect.1

        “Since President Washington’s first term, Congress has given the President limited

authority to appoint acting officials to temporarily perform the functions of a vacant . . . office

without first obtaining Senate approval.” N.L.R.B. v. Sw. Gen., Inc., 137 S. Ct. 929, 935 (2017).

        1 In addition, the CFPB's General Counsel has issued a short memo agreeing with OLC's
conclusion. See Memorandum from Mary E. McLeod to The Senior Leadership Team, CFPB,
November 25, 2017, available at http://bit.ly/2ABdSvt.
     	  
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Congress has granted only a limited authority to appoint acting officers via two kinds of statutes:

statutes that apply to specific vacancies in particular federal agencies, and statutes creating

default rules that apply across many agencies. See id. at 935–36 (discussing historical examples).

              The President’s attempt to use the FVRA to appoint an Acting Director of the CFPB is

an “obvious contravention,” id., of Congress’s statutory scheme. There are some situations where

both the FVRA and an agency-specific vacancy filling process may apply to a particular vacancy,

and either may be properly invoked. See, e.g., Hooks v. Kitsap Tenant Support Servs., Inc., 816 F.3d

550, 556 (9th Cir. 2016). But this is not one of those situations, for several reasons.

              First, the CFPB’s organic statute includes a specific, mandatory succession plan for filling

the vacancy in question: the Deputy Director “shall . . . serve as acting Director in the absence or

unavailability of the Director.” 12 U.S.C. § 5491(b)(5)(B). The OLC Memo agrees that this

provision applies when the position of Director is vacant, as with Director Cordray’s departure.

OLC Memo at 3.

              To the extent anything in the FVRA would conflict with this mandatory provision, the

CFPB’s statute controls. Dodd-Frank was enacted more recently than the FVRA, and the well-

established rule for evaluating conflicts between two statutes is that “the more recent legal

pronouncement controls.” Owner-Operator Indep. Drivers Ass’n, Inc. v. U.S. Dep’t. of Transp., 724 F.3d

230, 233 (D.C. Cir. 2013). And Dodd-Frank’s language is more specific than that of the FVRA,

focusing narrowly on the head of one particular agency, as opposed to supplying general rules for

all executive offices. “‘[I]t is a commonplace of statutory construction that the specific governs

the general.’” RadLAX Gateway Hotel, LLC v. Amalgamated Bank, 132 S. Ct. 2065, 2071 (2012)

(quoting Morales v. Trans World Airlines, Inc., 504 U.S. 374, 384 (1992)); see HCSC-Laundry v. United

States, 450 U.S. 1, 6 (1981) (“a specific statute . . . controls over a general provision”).


       	  
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       Next, the legislative history surrounding the CFPB’s creation makes clear that Congress

specifically decided that the FVRA should not apply to the position of the CFPB’s Acting

Director. The early version of Dodd-Frank that passed the House of Representatives in

December 2009 did not provide for a Deputy Director of the CFPB. Instead, it explicitly stated

that when the Director’s office became vacant a temporary replacement had to be appointed in

the manner provided by the FVRA. See H.R. 4173, 111th Cong. § 4102(b)(6)(B)(1) (engrossed

version, Dec. 11, 2009). But the Senate bill introduced and passed months later eschewed this

choice, instead opting for what would become the present statutory language. See S. 3217, 111th

Cong. § 1011(b)(5)(B) (2010). This change—from using the FVRA to providing a different

mechanism—reflects a considered decision that the FVRA should not govern succession in the

event of a vacancy in the Director position.

       This interpretation is strengthened by the overall statutory scheme of Dodd-Frank, which

“established . . . an independent bureau” and created mechanisms to protect that independence.

12 U.S.C. § 5491(a). In establishing the Bureau, Congress determined that it needed to be an

independent regulator—insulated from direct presidential management and control—to remain

a vigilant guardian of consumers’ interests. See S. Rep. No. 111-176, at 174 (2010) (discussing the

need for a “strong and independent Bureau”). Accordingly, Congress structured the Bureau to

enhance its independence, placing it within the already-independent Federal Reserve System,

giving it an independent funding source, and protecting its Director from removal except for

good cause. See 12 U.S.C. §§ 5491(a), 5491(c)(3), 5497(a)(1). Yet if the President can appoint his

own chosen successor under the FVRA, it would mean that the CFPB could be headed—

potentially for many months—by an Acting Director hand-picked by the President without the

check of Senate confirmation. “A fair reading of legislation demands a fair understanding of the

legislative plan.” King v. Burwell, 135 S. Ct. 2480, 2496 (2015). The President’s interpretation of
     	  
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Dodd-Frank ignores this principle, depriving the CFPB of the independence that was central to

Congress’s plan.

              In sum, the President’s interpretation of the relationship between the FVRA and Dodd-

Frank is contrary to the latter’s text, legislative history, structure, and purpose. The OLC’s

arguments to the contrary, meanwhile, are unconvincing.

              The FVRA states that the appointment mechanisms it provides are

                     the exclusive means for temporarily authorizing an acting official to
                     perform the functions and duties of any office of an Executive agency . . .
                     for which appointment is required to be made by the President, by and
                     with the advice and consent of the Senate, unless—
                            (1) a statutory provision expressly—
                                    (A) authorizes the President, a court, or the head of an
                                        Executive department, to designate an officer or
                                        employee to perform the functions and duties of a
                                        specified office temporarily in an acting capacity; or
                                    (B) designates an officer or employee to perform the
                                        functions and duties of a specified office temporarily in
                                        an acting capacity . . .

5 U.S.C. § 3347(a). OLC argues that where the listed exceptions apply, it only means that the

FVRA is not the “exclusive” means for authorizing the appointments in question. OLC Memo at

4. In other words, according to the OLC, the exceptions say nothing about whether the FVRA

may be an additional method for making such appointments. Id. To support the argument that the

FVRA may coexist as an appointment method alongside other statutory provisions governing

appointments, the OLC cites the Ninth Circuit’s case Hooks v. Kitsap Tenant Support Services, the

legislative history of the FVRA, and prior OLC opinions discussing specific statutes. Id. at 3–6.

              None of these examples is a persuasive analogue to the case at hand. Even if the OLC is

right that the FVRA’s use of the term “exclusive” implies that it may sometimes comfortably

coexist alongside other appointment provisions, nothing in the OLC’s argument indicates that

the FVRA will always be an available alternative. Hooks itself illustrates how the compatibility of

       	  
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one statute with the FVRA does not imply the compatibility of Dodd-Frank with the FVRA.

That case dealt with the National Labor Relations Act, which gives the authority to appoint an

Acting General Counsel for the National Labor Relations Board to the very same person

authorized to make a temporary appointment under the FVRA: the President. See Hooks, 816

F.3d at 555–56 (discussing 29 U.S.C. § 153(d)). Where two statutes provide a mechanism by

which the same person (in that case, the President) may fill the same vacancy (the vacancy left by

the General Counsel), it makes sense that “the President is permitted to elect between these two

statutory alternatives,” both of which empower the President directly. Hooks, 816 F.3d at 556.

Similarly, the statutes discussed in the OLC’s prior opinions provide for appointments made

either by the President or those acting under his control. See 28 U.S.C. § 508 (providing that the

Attorney General “may designate” a line of succession); Authority of the President to Name an Acting

Attorney General, 2007 WL 5334854, at *2 (2007) (“Nor would it make sense that the Attorney

General . . . could prevent the President, his superior, from using his separate authority under the

Vacancies Reform Act.”). Here, in contrast, the statute governing the position of Acting Director

does not empower the President or someone he controls to fill the vacancy; it instead provides for

the automatic succession of the Deputy Director to the position of Acting Director. 12 U.S.C. §

5491(b)(5)(B).

              The only statutes mentioned in the OLC Memo featuring mandatory language that is

arguably comparable are those mentioned in the FVRA’s legislative history. See OLC Memo at 5

& n.3. In other words, these statutes all predate the FVRA—and the FVRA therefore supersedes

them when there is a conflict. See Owner-Operator Indep. Drivers Ass’n, 724 F.3d at 233. These

examples are thus inapplicable to the present instance of a statute that, as discussed above, was

enacted post-FVRA, contains legislative history indicating that Congress considered and rejected


       	  
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making the FVRA applicable, and sets up an independent agency that is designed to be free from

direct Presidential intervention after the President appoints a Senate-confirmed Director.

              The President’s actions are contrary to the text and purpose of Dodd-Frank, and none of

the government’s apparent legal justifications are persuasive. Plaintiff therefore has a high

likelihood of succeeding on the merits of her claim.

              B. The President may not appoint a still-serving White House staffer to
                 displace the acting head of an agency that is required by statute to be
                 “independent.”

              Even if the President’s interpretation of the FVRA were correct, applying the FVRA as

the President wishes to do here would still be unlawful because it would contravene Congress’s

clear requirement that the CFPB be established as “an independent bureau.” 12 U.S.C. §

5491(a). As discussed above, granting the CFPB durable independence was one of Congress’s

primary goals in the agency’s creation. See S. Rep. No. 111-176, at 174 (2010) (discussing the

need for a “strong and independent Bureau”). The CFPB was created “in the Federal Reserve

System,” 12 U.S.C. § 5491(a), another branch of the executive whose independence is essential to

its mission and required as a matter of both law and custom. See generally Peter Conti-Brown, The

Power and Independence of the Federal Reserve (2016). Its Director is removable only for cause, a

quintessential protection of agency independence. 12 U.S.C. § 5491(c)(3); see also Free Enter. Fund v.

Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 483 (2010) (noting that “Congress can, under

certain circumstances, create independent agencies run by principal officers appointed by the

President, whom the President may not remove at will but only for good cause”). And it is

independently funded via the Federal Reserve System, rather than the usual annual

appropriations process in Congress, to further bolster its independence. 12 U.S.C. § 5497(a)(1).

              The President seeks to subvert this independence by appointing a new Acting Director for

the CFPB who will continue to serve the President simultaneously as an at-will employee in the
       	  
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White House’s Executive Office. The President has chosen Mr. Mulvaney, the Director of the

White House Office of Management and Budget, to serve as Acting Director. But Mr. Mulvaney

has not resigned from his position with OMB, and news reports indicate that he is not planning

to do so.2 OMB is an agency within the Executive Office of the President and works closely with

the President to implement his policy priorities across the entirety of the Executive branch.3 In

his capacity as OMB Director, Mr. Mulvaney does not enjoy the statutory protections given to

the CFPB director, and instead may be fired at the President’s whim. He is thus particularly

susceptible to the direct presidential influence that Congress sought to avoid.

       Appointing a still-serving White House staffer to be the leader of the CFPB is a clear

violation of Congress’s statutory mandate that the agency be “independent.” 12 U.S.C. § 5491(a).

Indeed, if such an appointment is permissible, the statutory requirement of independence would

be required utterly meaningless. From Mr. Mulvaney’s perspective, his job at the CFPB would be

temporary, lasting only until the President nominated a Director, while his full-time, at-will job at

OMB is the job that he will presumably retain throughout and after his tenure at the CFPB. As

the Supreme Court has noted, in the context of protections for independent executive agencies,

“it is quite evident that one who holds his office only during the pleasure of another cannot be

depended upon to maintain an attitude of independence against the latter’s will.” Humphrey’s Ex’r

v. United States, 295 U.S. 602, 629 (1935). If Mr. Mulvaney were to serve as Acting Director while

continuing to be employed in an at-will position in the White House, it would violate Dodd-




       2    See, e.g., Renae Merle & Damien Paletta, OMB Director Mick Mulvaney being considered for
interim CFPB leadership position, Wash. Post (Nov. 16, 2017), https://goo.gl/2ngvG5 (“If given the
job, Mulvaney would probably lead both agencies until a permanent head of CFPB is chosen and
confirmed by the Senate . . . .”).
          3   See generally Office of Management and Budget, The White House,
https://www.whitehouse.gov/omb.
     	  
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Frank’s requirement that the CFPB be independent and set a dangerous precedent for

independent agencies throughout the executive branch.

            The President’s appointment of Mr. Mulvaney is thus unlawful for reasons beyond the

errors in the President’s interpretation of the FVRA. Plaintiff is therefore likely to succeed on the

merits of her claim, as she has two independently valid bases to challenge the President’s actions.

II.         Ms. English will suffer irreparable injury if an injunction is not granted.

            To allow for the appointment of an Acting Director via an inapplicable general statute

would cause harm to the public at large and irreparable injury to plaintiff in particular. This

Court has recognized that the loss of a government official’s “statutory right to function” in his or

her role is an irreparable injury. Berry v. Reagan, 1983 WL 538, at *5 (D.D.C. Nov. 14, 1983); see

also Mackie v. Bush, 809 F. Supp. 144, 147 (D.D.C. 1993), vacated as moot sub nom. Mackie v. Clinton,

10 F.3d 13 (D.C. Cir. 1993) (issuing temporary restraining order prohibiting President from

removing plaintiffs from federal office and noting that “neither a damages remedy nor a

declaratory judgment would provide an adequate remedy” after the fact of their removal).

            Ms. English is legally entitled—and legally required—to perform the duties of the CFPB’s

Acting Director. If another person is appointed to that role, her ability to perform these duties

will become at best unclear and at worst impossible. This consequence would also be nearly

irreversible—by Congress’s design, the position comes with many powers and protections. See 12

U.S.C. §§ 5491(c)(3), 5497(a)(1). Any person who is appointed to the office and contests plaintiff’s

entitlement to the office may attempt to resolve the dispute by terminating Ms. English from her

employment with the CFPB, which would further cause her irreparable injury. And this

alternative Acting Director may also endeavor to take other permanent actions that

countermand Ms. English’s “statutory right to function” in her role. Berry, 1983 WL 538, at *5.

III.        The defendants’ interests will not be substantially injured by an injunction.
     	  
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              The temporary order that Ms. English seeks would preserve the status quo and not

substantially injure the defendants. Ms. English is the current Acting Director of the CFPB. The

order plaintiff seeks would not jeopardize the President’s ability to appoint an Acting Director in

the near future, whether Mr. Mulvaney or someone else, after the Court has had further

opportunity to hear a response from the defendants and consider the merits. “Temporary

postponement of the President’s” appointment “would not appear to cause any damage to his

interest or to that of the United States.” Mackie, 809 F. Supp. at 146. But removal of plaintiff

from her office, “particularly during this period of transition, could be irrevocably disruptive” for

her. Id.

IV.           The public interest is furthered by the injunction sought here.

              The CFPB is a major federal agency with regulatory and enforcement authority covering

a wide array of consumer financial services—from mortgages and student loans to debt collection

and credit reporting. The public has a strong and urgent interest in knowing who is at its helm.

The injunction that the plaintiff seeks would prevent the existence of two competing claimants for

the same position at the head of the CFPB. In contrast, if the President is permitted to move

forward with his stated plans, it would foster immediate confusion as to who is legally in control

of the CFPB. This confusion would likely be compounded over time if the plaintiff and Mr.

Mulvaney take actions that contradict each other. The best way to prevent a scenario in which

competing Acting Directors attempt to exercise contradictory claims to authority is by preserving

the status quo, preventing the immediate appointment or recognition of a new Acting Director,

and proceeding to consider both sides’ arguments in full.

                                                CONCLUSION

              The plaintiff’s motion for a temporary restraining order should be granted.


       	  
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                                  Respectfully submitted,

                                  /s/ Deepak Gupta

                                  DEEPAK GUPTA (D.C. Bar No. 495451)
                                  MATTHEW WESSLER (D.C. Bar No. 985241)
                                  RACHEL BLOOMEKATZ (pro hac vice application to be filed)
                                  JOSHUA MATZ (pro hac vice application to be filed)
                                  DANIEL TOWNSEND (pro hac vice application to be filed)
                                  GUPTA WESSLER PLLC
                                  1900 L Street, NW, Suite 312
                                  Washington, DC 20036
                                  Phone: (202) 888-1741
                                  Fax: (202) 888-7792
                                  deepak@guptawessler.com

November 26, 2017                Attorneys for Plaintiff




       	  
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                                    CERTIFICATE OF SERVICE

              I hereby certify that on November 26, 2017, I electronically filed this motion for a

temporary restraining order through this Court’s CM/ECF system. I understand that notice of

this filing will be sent to all parties by operation of the Court’s electronic filing system.

                                                /s/ Deepak Gupta
                                                Deepak Gupta




       	  
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